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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION


 UNITED STATES OF AMERICA,             )
                                       )
             v.                        ) CAUSE NO. 2:08 CR 50
                                       )
 ANDRES ZARAGOZA                       )

                      FINDINGS AND RECOMMENDATION
                         OF THE MAGISTRATE JUDGE
                          UPON A PLEA OF GUILTY

 TO:   THE HONORABLE RUDY LOZANO, JUDGE
       UNITED STATES DISTRICT COURT

       Upon defendant's request to enter a plea of guilty pursuant

 to Federal Rule of Criminal Procedure 11, this matter came on for

 hearing before the Honorable Andrew P. Rodovich, United States

 Magistrate Judge, on February 12, 2009, with the written consents

 of the defendant, counsel for the defendant, and counsel for the

 United States of America.

       The hearing on defendant's plea of guilty was in full

 compliance with Rule 11, before the Magistrate Judge in open

 court and on the record.

       In consideration of that hearing and the statements made by

 the defendant under oath on the record and in the presence of

 counsel, the remarks of Assistant United States Attorney David

 Nozick and of Kevin Smith, counsel for defendant,

       I FIND as follows:

       (1)   that the defendant understands the nature of the charge

             against him to which the plea is offered;

       (2)   that the defendant understands his right to trial by

             jury, to persist in his plea of not guilty, to the
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            assistance of counsel at trial, to confront and cross-

            examine adverse witnesses, and his right against com-

            pelled self-incrimination;

      (3)   that the defendant understands what the maximum

            possible sentence is, including the effect of the

            supervised release term, and defendant understands

            that the Probation Department will prepare a pre-

            sentence report based upon the sentencing guide-

            lines but that the court may depart from those

            guidelines under some circumstances;

      (4)   that the plea of guilty by the defendant has been

            knowingly and voluntarily made and is not the

            result of force or threats or of promises;

      (5)   that the defendant is competent to plead guilty;

      (6)   that the defendant understands that his answers

            may later be used against him in a prosecution for

            perjury or false statement;

      (7)   that there is a factual basis for the defendant's

            plea; and further,

      I RECOMMEND that the court accept the defendant's plea of

 guilty to the offense charged in Count 1 of the indictment and

 that the defendant be adjudged guilty of the offense charged in

 Count 1 of the indictment and have sentence imposed.              A pre-sent-

 ence report has been ordered.         Should this Report and Recommenda-

 tion be accepted and the defendant adjudged guilty, sentencing




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 has been scheduled for April 29, 2009, at 2:15 P.M. before Judge

 Rudy Lozano.


      ENTERED this 2nd day of April, 2009




                                   s/ Andrew P. Rodovich
                                      United States Magistrate Judge




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